                        UNITED STATES BANKRUPTCY COURT
                          EASTERN DISTRICT OF MICHIGAN
                                SOUTHERN DIVISION


In the Matter of:                                              In Bankruptcy

KEVIN ROLAND IOTT and                                          Case No. 09-48174 SWR
LAURA SUE IOTT,                                                Chapter 7
                                                               Hon. Steven W. Rhodes
     Debtor(s).
___________________________________/

      TRUSTEE’S MOTION FOR ORDER DIRECTING DEBTORS TO APPEAR FOR
        EXAMINATION AND TO PRODUCE RECORDS PURSUANT TO BR 2004

        Trustee Timothy J. Miller, by his attorneys Schneider Miller, P.C., says:

1.      The Trustee has repeatedly requested records and Debtors’ appearance under BR

        2004. Debtors’ counsel has failed to respond.

2.      The Trustee requires (a) 2008 and 2009 personal and business tax returns, (b)

        ledgers and canceled checks on the personal and business financial accounts for

        2009 including the 1099s from the RMI LLC returns, (c) supporting schedules

        regarding the Debtors’ 2007 tax return, and (d) records relevant to the disposition

        of the proceeds from the 2008 sale of farmland by Iott Tomato Farms LLC as well

        as Debtors’ testimony regarding these matters and regarding several real estate

        transactions.

3.      An order for examination and for turnover of records is authorized BR 2004.

        WHEREFORE, the Trustee prays for entry of an order directing Debtors to appear

for examination and directing Debtors to produce the records listed in paragraph 2.

                                                 SCHNEIDER MILLER, P.C.


Dated: July 13, 2010                             /s/ Kenneth M. Schneider
                                          By:  KENNETH M. SCHNEIDER (P-31963)
                                               Attorney for Trustee
                                               645 Griswold, Suite 3900
                                               Detroit, Michigan 48226
                                               (313) 237-0850
     09-48174-swr   Doc 51                     kschneider@schneidermiller.com
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                       UNITED STATES BANKRUPTCY COURT
                         EASTERN DISTRICT OF MICHIGAN
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                                                             Hon. Steven W. Rhodes
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                                PROPOSED
                 ORDER DIRECTING DEBTORS TO APPEAR FOR
              EXAMINATION AND DIRECTING DEBTORS TO PRODUCE
                   RECORDS FOR INSPECTION AND COPYING

       The Trustee’s Motion for Order Directing Debtors to Appear for Examination and to

Produce Records Pursuant to BR 2004 is GRANTED.

       Debtors shall appear at the office of Trustee’s counsel on August 26, 2010 at 9:00

a.m.

       Not later than August 23, 2010, Debtors shall deliver the records listed in the

Trustee’s motion to Trustee’s counsel.




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                                     UNITED STATES BANKRUPTCY COURT
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LAURA SUE IOTT,                                                                       Chap ter 7
                                                                                      Hon. Steven W . Rhodes
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_________________________________/


               NOTICE OF TRUSTEE’S MOTION FOR ORDER DIRECTING DEBTORS TO APPEAR
                 FOR EXAMINATION AND TO PRODUCE RECORDS PURSUANT TO BR 2004

         Schneider Miller, P.C., attorneys for Timothy J. Miller, Trustee, has filed papers with the court entitled Trustee’s
Motion for Order Directing Debtors to Appear for Examination and to Produce Records Pursuant to BR 2004.

         Your rights may be affected. You should read these papers carefully and discuss them with your
attorney, if you have one in this bankruptcy case. (If you do not have an attorney, you may wish to consult one.)

         If you do not want the court to grant the relief as set forth above, or if you want the court to consider your views
on the objections, within fourteen (14) days, you or your attorney must:

         1.         File with the court a written response or an answer, explaining your position at:

                                                United States Bankruptcy Court
                                                211 W. Fort Street, 17th Floor
                                                Detroit, Michigan 48226

         If you mail your response to the court for filing, you must mail it early enough so the court will receive
it on or before the date stated above.

         You must also mail a copy to:

                                                Kenneth M. Schneider
                                                645 Griswold; Suite 3900
                                                Detroit, Michigan 48226
                                                (313) 237-0850

         2.         If a response or answer is timely filed and served, the clerk will schedule a hearing on the motion and
                    you will be served with a notice of the date, time and location of the hearing.

        If you or your attorney do not take these steps, the court may decide that you do not oppose the relief
sought in the objection and may enter an order granting the relief.

                                                                   Respectfully Submitted,



Dated: July 13, 2009                                                 /s/ Kenneth M. Schneider
                                                         By:       KENNETH M. SCHNEIDER (P-31963)
                                                                   Attorney for Trustee
                                                                   645 Griswold; Suite 3900
                                                                   Detroit, MI 48226
                                                                   (313) 237-0850
                                                                   kschneider@schneidermiller.com




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                          EASTERN DISTRICT OF MICHIGAN
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                                                                 Hon. Steven W. Rhodes
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___________________________________/


                               CERTIFICATE OF SERVICE

RE:    Trustee’s Motion for Order Directing Debtors to Appear for Examination and to
       Produce Records Pursuant to BR 2004, proposed Order, L.B.R. 9014-1 Notice and
       Certificate of Service

       I hereby certify that on the 13th day of July 2010, I electronically filed the foregoing

papers with the Clerk of the Court using the ECF system which will forward such filing to

the Office of the United States Trustee and all counsel of record using the ECF system;

and

       I hereby certify that an employee of Schneider Miller, P.C., mailed by United States

Postal Service the foregoing papers to the following non-ECF participant:

              Kevin Roland Iott
              Laura Sue Iott
              5670 Sylvania Pettersburg
              Petersburg, MI 49270



                                                    /s/ Kenneth M. Schneider
                                           By:     KENNETH M. SCHNEIDER (P-31963)
                                                   645 Griswold, Suite 3900
                                                   Detroit, Michigan 48226
                                                   (313) 237-0850
                                                   kschneider@schneidermiller.com




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